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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia

                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        September 16, 2021

Via Email and Electronic File Transfer

Jonathon A. Moseley
5765-F Burke Center Parkway #337
Burke, VA 22015
contact@jonmosely.com

                Re:    United States v. Ethan Nordean et al, Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

        I write to memorialize additional productions related to the above-captioned case as part
of the government’s ongoing efforts to produce preliminary discovery on an expedited basis.
Specifically, this afternoon, the government produced certain materials from Mr. Rehl’s case file
maintained by the Federal Bureau of Investigation. Please note that the file names bear the titles
as assigned by the FBI’s electronic systems.

        The production is in two parts. The first part is a re-production of files that were provided
to previous counsel for Mr. Rehl on June 2, 2021. Those files, including an index of the files, have
been made available to you through USAfx in a folder named “2021.06.02_Production_FBI
Sentinel Files_Part One.” Please note that the files were also previously provided in “cross-
discovery” to counsel for defendants Ethan Nordean, Joseph Biggs, and Charles Donohoe on July
6, 2021. (Although we understand that you have obtained or expect to obtain discovery materials
from Mr. Rehl’s prior counsel, the government is re-producing these materials from Mr. Rehl’s
FBI file to ensure you have ready access to them.)

        The second part of the production contains additional materials from Mr. Rehl’s FBI case
file that are being provided, with an index, in a folder named “2021.09.16_Production_FBI
Sentinel Files_Part Two.” On September 11, 2021, prior to your appointment as counsel in this
case, these files were also provided to counsel for Mr. Rehl’s co-defendants in “cross-discovery.”
For your reference, we will provide you with copies of the cover letters from the cross-discovery
productions to other counsel.
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        Please note that certain of the materials have been designated Sensitive or Highly
Sensitive” under the Protective Order entered in this case. Such materials have been produced in
separate folders marked “Sensitive” and “Highly Sensitive.” Other files are produced in a folder
titled “Standard.”

       The materials described herein have been made available for download on USAfx. Please
keep in mind that all of the items placed in the USAfx case-folder will be deleted automatically –
some in as few as 60 days. Please let me know immediately if you have been unable to access and
download the materials for your use in this case.

                                                    Sincerely yours,

                                                    CHANNING D. PHILLIPS
                                                    ACTING UNITED STATES ATTORNEY

                                             By:           /s/
                                                    Luke M. Jones
                                                    Assistant United States Attorney
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-7066
                                                    Luke.jones@usdoj.gov




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